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            IN THE UNITED STATES DISTRICf COURT 

           FOR THE NORTHERN DISTRICf OF GEORGIA 

                     NEWNAN DIVISION 


DAVID BROWN, et al., 


                Plaintiffs,
                                                       CMLACTION
     v.
                                                       NO.3:13-cV-20-TCB
VENTURE EXPRESS, INC., et aI.,

                   Defendants.

                                  SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary
Report and Discovery Plan form completed and filed by the parties, the
Court orders that the time limits for adding parties, amended the
pleadings, filing motions, completing discovery, and discussing
settlement are as set out in the Federal Rules of Civil Procedure and the
Local Rules of this Court, except as herein modified: ~ ,-/&, V'"'I t./

f1MJ e.x c .# .. ,=t~ &~+ ~ /J IA1"'+'FP,' ,~t4/''f,·'"J. ~ ~ wlt~
Me ":"D". A Ffv {J14/ ~ ~1110.' ~ (,,,,,leA 1'1# -fA.. J!.r< fJ 1/""'" ~"" •.I
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  A~    tltl.J.·"...J'1.
       IT IS SO ORDERED this ~day of May, 2013.
                                      ~A ".tJ
                                                J.. .        $
                                               Timothy C. Batten, Sr.
                                                                       ~ ,.t.:-­
                                               United States District Judge
